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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                               )
WILLIAM GARCIA,                                )
for himself and all others similarly situated, )                 Case No. 18-cv-4718
                      Plaintiff,               )
              v.                               )
                                               )
VERTICAL SCREEN, INC.,                         )
                      Defendant.               )
_____________________________________________ )

               PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY

       Named Plaintiff William Garcia and 62 Opt-In Plaintiffs (“Plaintiffs”) 1 respectfully submit

this Notice of Supplemental Authority to inform the Court of a recent decision entered by the

Pennsylvania Supreme Court that directly relates to, and informs, open issues currently pending

before this Court.

       On April 30, 2021, Defendant filed a Summary Judgment Motion and supporting Memo

seeking judgment on Plaintiffs’ FLSA and PMWA claims. See [Doc. 77]. In this filing, Defendant

argues that the time Plaintiffs spend engaged in pre-shift activities, which includes (but is not

limited to) passing through an array of security systems upon arriving at Defendant’s premises is

not compensable because it took a de minimis amount of time. See Def. Memo at pp. 22-30 [Doc.

77].

       On June 29, 2021, Plaintiffs filed a Summary Judgment Opposition supporting their FLSA

and PMWA claims and explaining that the unpaid work they performed cannot fairly be described

as de minimis because it took approximately 20-30 minutes per day and involved maintaining

security protocols intended to protect confidential software and data belonging to Defendant, its



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 See Consent Form Notices [Docs. 31, 33-45]; Notice of Withdrawal (Panofsky) [Doc. 52]; Joint
Stipulation of Dismissal (Lyerla, McKelvin, Sidebotham and Servance) [Doc. 70].
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customers and their employees/job applicants. See Plaintiffs’ Opp., pp. 3-7 [Doc. 89].

       On July 21, 2021, the Pennsylvania Supreme Court entered an Opinion answering two

questions certified from the Sixth Circuit Court of Appeals in a case captioned In re Amazon.com,

Inc. Fulfillment Center FLSA Litig., No. 43 EAP 2019 (Exhibit A), namely:

               (1) whether time spent on an employer’s premises waiting to
               undergo, and undergoing, mandatory security screening is
               compensable as “hours worked” within the meaning of the
               Pennsylvania Minimum Wage Act? and (2) whether the doctrine of
               de minimis non curat lex [] applies to bar claims brought under the
               PMWA?

Id. at p.1 (Exhibit A).

       The Pennsylvania Supreme Court’s conclusions that “hours worked” under the PMWA

includes time spent on security screenings (at pp. 8-21) and that there is no de minimis exception

to the PMWA (at pp. 21-28) and the extensive reasoning supporting these conclusions, see In re

Amazon.com, Inc. Fulfillment Center FLSA Litig. (Exhibit A), all strongly support Plaintiffs’

claims, undermine Defendant’s arguments for summary judgment and provide additional grounds

for this Court to deny Defendant’s Motion.



                                                    Respectfully submitted,

               Dated: July 26, 2021                 /s/ David J. Cohen
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                                                    Plaintiffs’ Counsel


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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that he caused a copy of the foregoing pleading to be

served upon all record counsel by electronically filing said document via the Court’s ECF system

on July 26, 2021.



                                                   /s/ David J. Cohen




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